          Case 2:21-cv-00015 Document 1-1 Filed 01/04/21 Page 1 of 18 Page ID #:15

                                                                                                            COPY
                                                                                                                                                               SUM-100
                                            SUMMONS                         BY FAX                                                    FOR COURT USE ONLY
                                                                                                                                  (SOLO PARA USO DE LA CORTE)
                                 ,
                                 (CITACION JUDICIAL)
                                                                                                                                CONFORMED          COPY
                                                                                                                                   ORIGINAL FILED
 NOTICE TO DEFENDANT:                                                                                                                             California
                                                                                                                                Superior Court ofAngeles
(AVISO AL DEMANDADO):                                                                                                             County of Lc.s

CA11
   .
   :1 MART, INC., a Delaware Corporation formerly known as VVAL-MART STORES7N
 rulpC                          nrIp         iknapn
                                                                           , —C-
                                                                               .1and                                                  SEP 30 2020
 YOU ARE BEING SUED BY PLAINTIFF:                                                                                               R.Garter, Executive Otticer/Gierk ot Cour
(LO ESTA DEMANDANDO EL DEMANDANTE):
                                                                                                                                By Kristina Vargas, Deputy
 LERNA MAYS AND LARRY ROACH, individually and on behalf of all others similarly situated
  N TI El You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the Information
  below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center (www.courtinfo.ca.goviselthelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
 court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
  be taken without further warning from the court.
    There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney .
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
(www.courtinfo.ca.goviselfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
'  AMC)!Lo han demandado. Si no responde dentro de 30 dies, la code puede decidir en su contra sin escuchar su version. Lea la informacian a
 continuacion.
    Tiene 30 DIAS DE CALENDAR/0 despues de que le entreguen este citacian y pope/es legates pare present& una respuesta por escrito en este
 code y hacer que se entregue una copia al demandante. Una carte o una llarnada telef6nica no to protegen. Su respuesta par escrito tiene que estarrj;
 en format° legal correcto si desea que procesen su caso en la code. Es posible qua haw) tin formulario quo usted puede usar pare su respuesta.
 Puede encontrar estos formularios do la carte y mas.Informaci6n.en el Centro de Ayuda de las Codes de California (www.sucorte.ca.gov), en la
 biblioteca de (eyes de su condado o en la code que le quede mas cerca. Si no puede pagarle cuota do presentacion, pida al secretario dole code que
 to de un formulario de exenciOn de pago de cuotas. S/no presenta su respuesta a tiempo, puede perder el caso potIncumplimiento yia code le podra
 guitar su sueldo, dinero y bienes sin mas advettencia.
    Hay otros requisitos legatos. Es recomendable quo (lathe a un abogado Inmediatamente. Si no conoce a un abogado, puede Ramer a un servicio de
 remisien a abogados. Si no puede pager a un abogado, es posible que cumpla con los requisltos pare obtener servicios legates gratuitos de un               tt,
 programa de servicios legates sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
(v.ww.lawhelpealifomia.org), en el Centro de Ayuda de la's Codes de California, (wwwsucorte.ca.gov) o poniendose en conlacto con la code o el .'`
 coleglo de abogados locales. AVISO:POT ley. la code lien° denacho a reciamar las cuotas y los costos exentos pot imponer un gravamen sabre
 cualquier recuperacian de $10,000 6 mos de valor recibida mediante tin acuerdo o una concesiOn de arbitrajo en un caso de derecho civil. Tiene que'r
 pager el gravamen de la code antes de que la code puede desechar el caso.
The name and address of the court is:                                                                                CASE NUMBER:(NOmero del Caso):
(El nombre y direccion de la code es):       •.
 Stanley Mosk Courthouse, 111 North Hill Street, Los Angeles, CA 90012

 The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is: (El nombre, la direcciOn ye!nOmero
 de toldfono del abogado del demandante, o del demendante que no tiene abogado, es):
 Alan Harris, Harris & Ruble, 655 North' Central Avenue, 17th Fl000r, Glendale, CA 91203
DATE:
               SEP302020                                                                  c(sieerckr,ebtayrio)           . Kristina Vargas
                                                                                                                                                               ,
                                                                                                                                                               Deputy
(Fecha)                                           SHERRI R. CARTER                                                                                            (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citati6n use el formulario Proof of Service of Summons,(POS-010).)
                                      NOTICE TO THE PERSON SERVED: You are served                                •
 [SEAL)
                                       1.   I    I as an Individual defendant: .
                                      2.    I   .1 as the person sued under the fictitious name of (specify):

                                            rxi on behalf of(specify): Walmart7IncTa-Delaware-Corporationlormerly
                                                                                   known as Wal-Mart Storesjno.
                                            under:ixj CCP 416.10 (corporation)                                           CCP 416.60 (minor)
                                                   ET CCP 416.20 (defunct corporation)                                   CCP 416.70 (conservatee)
                                                                                                                         "•••




                                                   I I CCP 416.40 (association or partnership)                        71 CCP 416.90 (authorized person)
                                                   f--1  other (specify);
                                      4.          by personal delivery on (date)
                                                                                                                                                                   Pigs 1 of 1
Form Adopted for Mandatory Use
Judicial Council of Califomia
                                                                       SUMMONS                                                          Code of Civil Procedure 5§ 412.20. 465
                                                                                                                                                            #vrw.courts.ca.gov
SUM-100 (Rev. July 1, 2009)

For your protection and privacy, please press the Clear
This Form button after you have printed the form.                  Print this form I Save this form
      Case 2:21-cv-00015 Document 1-1 Filed 01/04/21 Page 2 of 18 Page ID #:16




                                                                       CONFORMED COPY
  1    Alan Harris(SBN 146079)                                            ORIGINAL FILID California
       Priya Mohan(SBN 228984)                                         Superior Court of
                                                                           County of Los Angeles
  2    Min Ji Gal(SBN 311963)
       HARRIS & RUBLE                                                        SEP 30 2020
  3    655 N. Central Ave., 17th Floor
       Glendale, CA 91203                                       Shoal R. Carter, Executive Officer/Cierk of Cowl
  4    Tel: 323.962.3777                                             sr Krtstina Vargas, Deputy
       Fax: 323.962.3004
  5    aharris@harrisandruble.com
       pmohan@harrisandruble.com
  6    mgal@harrisandruble.com
  7    Attorneys for Plaintiffs
  8
 9                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
 10                               FOR THE COUNTY OF LOS ANGELES
 11
 12
        LERNA MAYS AND LARRY ROACH, Case No.
        individually and on behalf of all others
                                                            20STCV37527
        similarly situated,                      COMPLAINT
 13                                              [Class-Action and PA.GA Complaint]
                            Plaintiffs,
 14
              V.                                  1. Failure to Provide Adequate Pay
 15                                                  Stubs, Cal. Lab. Code § 226(a)
       WALMART,INC.., a Delaware
 16    Corporation formerly known as              2. Violation of the Private Attorneys
       WAL-MART STORES,INC. and DOE                  General Act of 2004, California
       ONE through and including DOE ONE-            Labor Code §§ 2698 et seq.
       HUNDRED,
18
                           Defendants.
19
20
.21
22
23
24
25
26
27
28


                                            COMPLATNT
     Case 2:21-cv-00015 Document 1-1 Filed 01/04/21 Page 3 of 18 Page ID #:17




           Plaintiffs Lerna Mays("Mays") and .Larry. Roach ("Roach")(collectively
 2 "Plaintiffs") on behalf of themselves as individuals, in their representative. capacities on
 3   behalf of the State of California Labor & Workforce Development Agency("LWDA")
 4   under the Labor Code Private Attorneys General Act of 2004 ("PAGA"), California
 5   Labor Code ("Labor Code")§ 2698 et seq., and as proposed representatives of a putative
 6   class, alleges as follows:
 7                                      INTRODUCTION
 8          1.    This is a PAGA law enforcement action and class action seeking damages,
 9   penalties, civil penalties and attorneys' fees and costs, including such reasonable
10   reimbursement of lees and costs as may be authorized by Section 218.5 of the California
11   Labor Code or otherwise. The alleged violations include wage statement violations, and
12   associated penalties.
13         2.     The California Labor Code requires employers to provide to its employees:
14   among other things, itemized wage statements. Defendants Walmart, Inc., formerly
15   known as Wal-Mart Stores, Inc, and Doe One through and including Doe One-Hundred
16 ("Wal-Mart" or "Defendants") failed to comply with the California Labor Code
17   requirements.' Accordingly, Plaintiffs seeks civil penalties on behalf of the State of
18   California and the LWDA,to be shared with all impacted employees, all in accord with-j
19   the extant statutory scheme.
20         3.     Wal-Mart has and continues to employ tens of thousands of non-exempt
21   employees who perform a variety of duties.throughout California. Plaintiff Mays is
22   bringing this action against Defendants on behalf of all individuals who received a pay
23   stub from Wal-Mart in the State of California at any time during the period of one year
24   prior to the filing of her December 18, 2017 original Complaint, to January 31, 2018, the
25   date before Wal-Mart Stores, Inc. effectively changed its name to Walmart,
26 (colfectively, these employees are the "Aggrieved Employees"). Plaintiff Roach is
27
          The legal name of the company Wal-Mart Stores, Inc. was changed to Wahnart. Inc.
28   effective February 1, 2018.

                                                 2
                                             COMPLAINT
     Case 2:21-cv-00015 Document 1-1 Filed 01/04/21 Page 4 of 18 Page ID #:18




     bringing this action against Defendants on behalf of Aggrieved Employees from the
 2   period of February 1,2018, the effective date of Defendant's name change from Wal-
 3   Mart Stores, Inc. to Walmart, Inc., to the mailing of the class notice. Plaintiff Roach is
 4   also bringing this action under PAGA on behalf of all Aggrieved Employees from the
 5   period of one year prior to his giving notice to the LWDA of Defendant's violations,
 6   November 28, 2018, to date.• The statutes of limitation applicable herein have been tolled
 7   by the pendency of Mays v. Wal-Mart Stores, Inc., United States District Court for the
 8   Central District of California Case No. Case No. 2:18-cv-02318-AB-KK and/or Roach v.
 9   Wal-Mart Stores, Inc., United States District Court for the Central District of California
10   Case No. 5:18-cv-02536-AB-KK. On April 10, 2020, pursuant to a mandate of the
11   Ninth Circuit Court of Appeal, the federal court dismissed Plaintiff Mays' wage
12   statement claim without prejudice following the Ninth Circuit's April 8, 2020 decision
13   reversing the district Court's Cl.a.ss CrtificatiOn order as to the Wage Statement Class due
14   to lack of Article HI standing.
15         4.     Plaintiffs' tolling argument is supported by controlling decisions of the
16   United States Supreme Court. Crown, Cork & Seal v. Parker, 462 U.S. 345, 354(1983)
1 7 ("We conclude, as did the Court in American Pipe, that 'the commencement of a class
18   action suspends the applicable statute of limitation's as to all asserted members of the
19   class who .woUld have been parties had the suit been permitted to continue as a class
70   action.' Once the statute of firnitations has been tolled, it remains tolled for all members
21   of the putative class until class certification is denied. At that point, class members may
22   choose to file their own suits . . . .")(cluoting Am. Pipe & Corist. Co. v. Utah, 414 U.S.
23   538;554 (1974).
24         5.     The pendency of the federal cases previously filed by Plaintiffs and
25   effectively dismissed by the Ninth Circuit decision that they did not have federal Article ITI
26   standing to pursue the matters in federal court has tolled all applicable statutes of
27   limitations with respect to the claims articulated herein.
28

                                                    3
                                               COM PLA INT
     Case 2:21-cv-00015 Document 1-1 Filed 01/04/21 Page 5 of 18 Page ID #:19




           6.     The Judicial Council of California (JCC)'s amended Emergency Rule 9
 2 (Effective on May 29, 2020), provides: "Notwithstanding any other law, the statutes of
 3   limitations and repose for civil causes of action that exceed 180 days are tolled from
 4   April 6, 2020, until October 1, 2020." The Advisory Committee Comment notes
 5   that: "Emergency rule 9 is intended to apply broadly to toll any statute of limitations on
 6   the filing of a pleading in court asserting a civil cause of action. The term "civil causes of
 7   action" includes special proceedings.(See Code Civ. Proc., §§ 312, 363 ["action," as
 8   used in title 2 of the code(Of the Time of Commencing Civil Actions], is construed "as
 9   including a special ,prOceeding of a civil nature"). .   The rule also applies to statutes of
10   limitations on filing of causes of action in court found in codes other than the Code of
11   Civil Procedure."
12         7.     Due to the illegal employment practices as more fully described herein,
13   Plaintiffs, in their representative capacity, seeks civil penalties on behalf of themselves
14   and other Aggrieved Employee's pursuant to PAGA, against all Defendants.
15         8.     Defendants have had a consistent policy and/or practice of knowingly and
16   intentionally failing to furnish timely the proper itemized wage statements to Aggrieved
17   Employees.
18                                 JURISDICTION AND VENUE
19         9.     This is a civil this's action and repi-esentative action brought under the
20   California Labor Code Private Attorneys General Act("PAGA"), seeking damages, civil
21   penalties, statutory penalties and attorneys' fees and costs. Venueas to Defendants is
22   proper in this judicial district, pursuant to California Code of Civil Procedure sections
23   395(a) and 395.5. Defendants maintain an office, transact business, have an agent, or are
24   found in the County of Los Angeles and are within the jurisdiction of this Court for
25   purposes of service of process. The violations ofPAGA alleged herein had a direct effect
26   on, and were committed within the State of California, impacting Plaintiffs and the
27   Aggrieved Employees.
28


                                               COMPLAINT
     Case 2:21-cv-00015 Document 1-1 Filed 01/04/21 Page 6 of 18 Page ID #:20




 1          10.    Venue as to Defendants is proper in this judicial district. Wal-Mart
 2   maintains an office, transacts business, has an agent or is otherwise found in the State of
 3   California and the District and Division in which this case is filed and is within the
 4   jurisdiction of this court for the purpose of service of process. The unlawful acts alleged
 5   herein had a direct effect on and were committed within the State of California.
 6          1 1.   This Court has jurisdiction over Wal-Mart because, upon information and
 7   belief, Defendants are either residents of California, have minimum contacts in
 8   California, or otherwise intentionally avail themselves of the protections of California so
 9   as to render California's exercise ofjurisdiction over Defendants consistent with
10   traditional notions of fair play and substantial justice.
11                                             PARTIES
12          1 2.   Lerna Mays and Larry Roach are individuals who, during the time periods
13   relevant to this Complaint, was employed by Wal-Mart within the State of California.
14          13.    Defendant Walmart, Inc., formerly Wal-Mart Stores, Inc., was and is a
15   Delaware corporation doing business within the State of California and having a principal
16   place of business within the State of California. Wal-Mart's corporate headquarters are
17   located in Bentonvi l le, Arkansas. Wal-Mart Associates, Inc. was and is a Delaware
18   corporation doing business within the State of California and having a principal place of
19   business in Bentonville, Arkansas. Wal-Mart Associates, Inc. is merely engaged in the
20   business of processing payroll for Defendants.
21          1 4.   Defendants Doe One through and including Doe One-Hundred are sued
22   herein under the provisions of section 474 of the California Code of Civil Procedure.
23   Mays is unaware of the true names, identities, or capacities, whether corporate,
24   individual, or otherwise, of said fictitiously named Defendants, but leave of Court will be
25   prayed to amend this pleading to insert the same herein when finally ascertained. Mays is
26   informed, believes, and thereupon alleges that each of the fictitiously named Defendants
27   is an entity that, during the relevant time period, maintained a principal place of business
28   in the County of Los Angeles, State of California, and that each of the said fictitiously

                                                   5
                                               COMPLAINT
     Case 2:21-cv-00015 Document 1-1 Filed 01/04/21 Page 7 of 18 Page ID #:21




 1   named Defendants is legally responsible for the damages hereinafter more particularly
 2   alleged.
 3                                 GENERAL ALLEGATIONS
 4          1 5.   Defendants employed Mays as an hourly employee until her employment
 5   was terminated by Defendants. Defendants employed Roach as an hourly employee until
 6   h is employment was terminated by Defendants.
 7          1 6.   Plaintiff Mays was terminated on or about February 10, 2017 but was not
 8   paid her full and fi nal wages until many days later. Similarly, Plaintiff Roach was
 9   terminated on or about November 18, 2018, and not paid his full and final wages until a
10   later date.
11          1 7.   Wal-Mart's policy is to devote minimal resources to the payroll accounting
12   function with the result that in practice its former employees are routinely not paid all
13   final wages owing to them in proper fashion.
14          1 8.   When Plaintiffs received their final wage statements, Wal-Mart failed to
15   include certain required information, including but not limited to, the inclusive dates of
16   the pay. period, al l accumulated pay in the employee's final pay statement, which Wal-
17   Mart calls a Final Statement of Wages, or the name and legal address of the employer,
18   Wal-Mart Stores, Inc. for Mays and Walmart, Inc. for Plaintiff Roach. On information
19   and belief, Wal-Mart failed to include required information on the wage statements of
20   other Aggrieved. Employees. as well, both on the final pay statement and otherwise.
21   Defendant's failure to provide this statutorily required information on wage statements
22   has been deemed to cause injury under section 226(e)(2)(B) of the California Labor
23   Code. Further, Plaintiffs and other Aggrieved Employees were not provided compliant
24   wage statements when other tardy payments were made to them, after their employ with
25   Defendant had terminated. Wal-Mart also failed to provide the amount of net wages
26   earned in connection with post-termination, on-cycle pay stubs issued to Plaintiffs and
27   Aggrieved Employees after the Final Statement of Wages. Defendant's post-termination
28   wage statements were confusing in that it was impossible to determine from the wage

                                                  6
                                              COMPLAINT
       Case 2:21-cv-00015 Document 1-1 Filed 01/04/21 Page 8 of 18 Page ID #:22




  1    statements alone whether or not Plaintiff Mays was being paid wages or something else,
 2     such as a stock purchase refund. The wage statement of February 23, 2017 claims that
  3    she is being paid for "REGULAR EARNINGS,""OVERTIME EARN," and a "CA
 4     MEAL PREM," along with some accrued, unused vacation and "PERS pay." The
 5     deductions portion of the February 23, 2017 wage statement reflects typical Social
 6     Security and SDI deductions associated with the payment of wages. The wage statement
 7     of March 9, 2017 indicates that Plaintiff Mays was being paid for "OVERTIM.E/TNCT,"
 8     and her "MYSHARE INCT" bonus. The deductions portion of the March 9, 2017 wage
 9     statement reflects typical Social Security and SDI deductions associated with the
10     payment of wages. Defendant's Senior Director of Payroll Services, Diana McChristian
11     has declared that Plaintiff May's wage statement dated February 23, 2017 included an,
1 2 "additional $100 reflecting a stock purchase withholding that she [Mays] had set up to be
1 :3   regularly deducted from paychecks, including her final pay, but which was turned off
14     before the payroll run that held the February 23, 2017 pay date, resulting in a
15     "reimbursement" of the stock purchase withholding when her final pa.y was deducted
16     from the "true up" payment." •Jul. 30, 2018 McChristian Decl.[ECF- Doc. 56-1] ¶ 16.2
17     Despite the .McChristian testimony, there is nothing on the wage statement that reflects •
18     this payment. The statements made it impossible for Plaintiff to determine whether she
19     had being properly compensated for all hours worked. Further, Defendant disputes that
20     the post-termination payments made to Plaintiff are wages even though amounts are
21     listed for "Gross Pay" and "Net Pay" on the February 23, 2017 and March 9,2017 wage
22     statements provided to Plaintiff Mays. Defendant's failure to provide accurate
23     information regarding gross and net wages earned has harmed Plaintiff Mays in that she
24     has been unable to determine whether or not she has been paid correctly by Defendants.
25     The fact that these error§ appear on post-termination wage statements is especially
26
       2 The referenced McChristian Declaration was filed as Docket Entry 56-1 in the U.S.
27     District Court for the Central District of California, in Mays v. Wal-Mart Stores, Inc.,
       C.D. Cal. Case No. 2:18—cv-02318—AB-KK.
28

                                                   7
                                               COMPLAINT
     Case 2:21-cv-00015 Document 1-1 Filed 01/04/21 Page 9 of 18 Page ID #:23




 1   egregious because Plaintiff has little recourse regarding obtaining accurate information
 2   since she no longer works for the company. Defendants' failure to provide the accurate
 3   name of the employer on wage statements has injured Plaintiff Mays by causing
 4   confusion as to who was her actual employer while Plainta Mays was working for
 5   Defendant. Defendant claims that Plaintiff Mays has "admitted" that Wal-Mart
 6   Associates, Inc., was her employer. However, this "admission" by Plaintiff Mays only
 7   illustrates her confusion from Defendant's deceptive wage statements. During the
     course of Plaintiff May's employment with Defendant, wage statements provided to
 9   Plaintiff Mays previously listed "Wal-Mart Stores, Inc." on the statements.
10   Subsequently, Defendant made the decision to list "Wal-.Mart Associates, Inc.' on the
11   statements. Obviously, this change caused confusion to Plaintiff Mays and Aggrieved
12   Employees as to which was the entity that actually employed them, especially
13   considering that 'other documents provided to Plaintiff Mays by Defendant clearly
14   i ndicated that Plaintiff Mays was in fact employed by Wal-Mart Stores, Inc.
15         1 9.   When Plaintiff Roach received his final wage statement, which Wal-Mart
16   calls a-Statement of Final Pay, Wal-Mart failed to include'certain required information,
17   including, but not limited to, the inclusive dates of the pay period, all accumulated pay in
18   the employee's final pay statement, or the -name and legal address of the employer, Wal-
19   Mart Stores, Inc. On inforniation and belief, Wal-Mart failed t6 include required
20   information on the wage statements of other Aggrieved Employees as well, both on the
21   Statement of Final Pay and otherwise. Defendants' failure to provide this statutorily
22   required information on wage statements has been deemed to cause injury under section
23   226(e)(2)(B) of the California Labor Code. Further, Aggrieved 'Employees were not
24   provided compliant wage statements when other tardy payments were made to them, after
25   their employ with Defendant had terminated. Wal-Mart also failed to provide the amount
26   of net wages earned in connection with, post-termination, on-cycle pay stubs issued after
27   the Statement of Final Pay. Defendants' post-termination wage statements were
28   confusing in that it was impossible to determine from the wage statements alone whether

                                                 8
                                             COMPLAINT
     Case 2:21-cv-00015 Document 1-1 Filed 01/04/21 Page 10 of 18 Page ID #:24




 1   or not Aggrieved Employees were being paid wages or something else, such as a stock
 2   purchase refund. The statements made it impossible for Aggrieved Employees to
 3   determine whether they had being properly compensated for all hours worked.
 4   Defendants' failure to provide accurate information regarding gross and net wages earned
 5   has harmed Aggrieved Employees in that they have been unable to determine whether or
 6   not they have been paid correctly by Defendants. The fact that these errors appear on
 7   post-termination wage statements is especially egregious because Aggrieved Employees
 8   have little recourse regarding obtaining accurate information after they no longer work
 9   for the company, many of the low-wage workers not having ready access to a computer,
10   printer, and the internet. Defendants' failure to provide the accurate name of the
11   employer on wage statements has injured Plaintiff Roach and Aggrieved Employees by
12   causing confusion as to who was his actual employer while Plaintiff was working for
13   Defendants and after termination. Plaintiff Roach suffered confusion as to which was the
14   entity that actually employed him, especially considering that other documents provided
15   to Plaintiff Roach by .Defendants clearly indicated that Plaintiff was, in fact, employed by
16   Wal-Mart Stores, Inc.
17         20:    -Wal-Mart failed to provide Plaintiffs *and the Aggrieved Employees pay
18   stubs that contain all of the information required by section 226 of the Labor Code.
19   Section 226 states:
20         Every employer shall, semimonthly or at the time of each payment of wages,
21         furnish each of his or her employees, either as a detachable part of the check,
22         draft, or voucher paying the employee's wages, or separately when wages
23         are paid by personal check or cash, an accurate itemized statement in writing
24         showing (1) gross wages earned,(2) total hours worked by the employee,
25         except for any employee whose compensation is solely based on a salary and
26         who is exempt from payment of overtime under subdivision (a) of Section
27         515 or any applicable order of the Industrial Welfare Commission,(3) the
28         number Of piece-rate units earned and any applicable piece rate if the

                                                 9
                                             COMPLAINT
      Case 2:21-cv-00015 Document 1-1 Filed 01/04/21 Page 11 of 18 Page ID #:25




 1          employee is paid on a piece-rate basis,(4) all deductions, provided that all
 2          deductions made on written orders of the employee may be aggregated and
 _3         shown as one item,(5) net wages earned,(6) the inclusive dates of the
 4          period for which the employee is paid,(7)the name of the employee and his
 5          or her social security number, except that by January 1, 2008, only the last
 6          four digits of his or her social security number or an employee identification
 7          number other than a social security number may be shown on the itemized
            statement,(8) the name and address of the legal entity that is the employer,
 9          and (9) all applicable hourly rates in effect during the pay period and the
10          corresponding number of hours worked at each hourly rate by the employee.
11    Cal. Lab. Code § 226(a). Plaintiffs' pay stubs demonstrate that Wal-Mart fails to include
12    the data required by section 226(a), including but not limited to the "inclusive dates of the
13    period for which the employee is paid," all accumulated vacation pay earned in the
14    employee's final pay statement, and the name and address of the entity that is the
15    employer.
16          21.    Mays's employer was Wal-Mart Stores, Inc,'Nevertheless, her final wage
17    statement and others issued to her incorrectly show Wal-Mart Associates, Inc. as the
18    employer.
19          92.    Similarly, Plaintiff Roach's employer was Walmart, Inc., formerly named
20    Vial-Mart Stores, -Inc. Nevertheless, his final wage statement, for example, and others
21    issued to him incorrectly show Wal-Mart Associates, Inc. as the employer.
22          23.    At all times relevant herein, sections 226 (b),(c), and (f) of the California
23    Labor Code further provided iii part:
24         (b) An employer that is required by-this code or any regulation adopted pursuant to
25          this code to keep the information required by subdivision (.a.) shall afford current
26          and former employees the right to inspect or copy records pertaining to their
27          employment, upon reasonable request to the employer.
28

                                                   10
                                               COMPLAINT
      Case 2:21-cv-00015 Document 1-1 Filed 01/04/21 Page 12 of 18 Page ID #:26




  1         (c) An employer who receives a written or oral request to inspect or copy records
  2         pursuant to subdivision (b) pertaining to a current or former employee shall
  3         comply with the request as soon as practicable, but no later than 21 calendar days
 4          from the date of the request.
  5
 6         (I) A 'failure by an employer to permit a current or former employee to inspect oi
  7         copy records within the time set forth, in subdivision (c)entitles the current or
  8         former employee or the Labor Commissioner to recover a seven-hundred-fifty-
 9          dollar ($750) penalty from the employer.
10                      PLAINTIFF'S CLASS-ACTION ALLEGATIONS
 11         24.    The Class represented by Mays consists of all individuals who received a
 12   pay stub from Wal-Mart in the State of California at any time during the one year prior to
 13   the filing of her December 18, 2017 original Complaint, to January 31, 2018, the date
 14   before Defendant Wal-Mart Stores, Inc. effectively changed its name to Walmart,Inc.
'15   and the members are "Mays Class Members").
16          25.    The Class represented by Roach consists of all individuals who received a
17    pay stub from Wal-Mart in the State of California from the period of February 1,2018,
18    the effective date of Defendant's name change from Wal-Mart Stores, Inc. to Walmart,
19    Inc. to the mailing ofthe class notice (the "Roach Class" and the members are the "Roach
20    Class Members").
21          26.    The number of Persons within the Classes is great, believed to be in excess
22    of ten thousand. It is therefore impractical to join each Class Member as a named
23    plaintiff: Accordingly, the utilization of a class action is thc most cconomiCally feasible
24    means of determining the merits of this litigation.
25          27.    Despite the numerosity of the Members of the Classes, membership within
26    them is readily ascertainable through an examination of the records that Wal-Mart is
27    required by law to keep and that it has kept. Likewise, the dollar amounts owed to
28    Plaintiffs and Class Members are readily ascertainable by an examination of the same.

                                                  II
                                              COMPLAINT
     Case 2:21-cv-00015 Document 1-1 Filed 01/04/21 Page 13 of 18 Page ID #:27




 1   records. For example, with respect to Defendant's violations of section 226(a)(8) of the
 2   California Labor Code, the damages owing to each Class Member equals the sum of $50
 3 (for the initial wage statement issued to the employee during the period commencing one
 4   year prior to the filing of the Complaint) and the product of the number of further wage
 5   statements issued to the employee and $100, with a per employee cap of $4,000.
 6         28.    The Class is proper insofar as common questions of fact and of law
 7   predominate over individual issues regarding the money owed lo each Class Member.
           29.    There is a well-defined community of interest in the questions of law and
 9   fact common to the Class. The key questions are the same for each Class Member,
10   namely,(a) Whether each Class Member received proper wage statements; and (e)
11   Whether Wal-Mart's failure to show all accumulated vacation pay earned in the
12   employee's final pay statement, failure to show the "inclusive dates of the of the period
13   for which the employee is paid," or failure to list the legal name and address of the
14   employer constitutes a violation of section 226.
15         30.    Plaintiffs' claims are typical of the claims of Class Members, which all arise
16   out of the same general operative facts, namely, that Wal-Mart's pay stubs fail to include
17   all of the- information required by the Labor Code. Plaintiffs have no conflict of interest
18   with Class Members, and they are able to represent the interests orthe Mays Class
19   Members and Roach Class Members fairly and adequately.
20         31.    A class action is a far-superior method for the fair and efficient adjudication
21   of this co
              . ntroversy for a number. of reasons.'First, the persons within the Class are
22   numerous, and joinder of all of them is impractical. Second, the disposition of all Class
23   Members' claims in a single clasS action rather than in individual actions mill benefit
24   both the parties and the Court.. In that regard, the claims of each individual Class
25   Member are too small to litigate individually, and the commencement of thousands pf
26   separate actions would lead to an undue burden on scarce judicial and administrative
27   resources. The alternative of individual proceedings before California's .Labor
28   Commissioner is impractical inasmuch as that agency has insufficient resources to

                                                   12
                                              COM PLAINT
      Case 2:21-cv-00015 Document 1-1 Filed 01/04/21 Page 14 of 18 Page ID #:28




 1    process such claims promptly, and, under the provisions o' f California Labor Code section
 2    98.2, if the individual Class Members were to succeed in obtaining awards in their favor,
 3    such awards would be appealable as a matter of right for a de novo trial in Superior
 4    Court, leading to a multiplicity of such trials in that court. In addition, absent class
 5    treatment, employees will most likely be unable to secure redress given the time and
 6    expense necessary to pursue individual claims, and individual Class Members will likely
 7    be unable to retain counsel willing to prosecute their claims on an individual basis given
 8    the small amount of recovery. As a practical matter, denial of class treatment will lead to
 9    denial of recovery to the individual Class Members.
10          32.       The interest of each Class Member in controlling the prosecution of his or
11    her individual claim against Wal-Mart is small when compared with the efficiency of a
12    class action.
1:3                     PAGA REPRESENTATIVE ACTION ALLEGATIONS
14          33.       On or about June 14, 2017, Plaintiff Mays gave written notice by certified
15    mail and online filing of Defendant's violations of various provisions of the California
16    Labor Code as alleged in this Complaint to the Labor and Workforce Development
17    Agency ("LWDA.") and Defendant. On or about November 28, 2018, Plaintiff Roach
18    gave written notice by certified mail and online filing of Defendants' violations of
19    various provisions of the California Labor Code as alleged in this Complaint to the
20    LWDA and Defendant. •
21          34.       More than sixty-five days have passed from the date of Plaintiffs' notices to
92    the LWDA and Plaintiffs have not been notified by the LWDA that it intends to
23    investigate Plaintiffs' allegations.' Therefore, pursuant to section 2699.3(a)(2)(A),
24    Plaintiffs "may commence a civil action pursuant to Section 2699." Cal. Lab. Code §
25    2699.3(a)(2)(A).
26          35.       Plaintiffs are informed and believe and thereon alleges that Defendants have
27    routinely failed to provide Plaintiffs and other Aggrieved Employees with proper
28    itemized wage statements.

                                                     13
                                                 COMPLAINT
     Case 2:21-cv-00015 Document 1-1 Filed 01/04/21 Page 15 of 18 Page ID #:29




 1         36.       Plaintiffs allege that Defendant violated PAGA by willfully failing to
 2   provide Aggrieved Employees with proper itemized wage statements in violation of
 3   Labor Code § 226(a). "PAGA. actions can serve to indirectly enforce certain wage order
 4   provisions by enforcing statutes that require compliance with wage orders (e.g., § 1198,
 5   which prohibits longer work hours than those fixed by wage order or employment under
 6   conditions prohibited by a wage order)." Thurman v. Bayshore Transit Mgrnt., Inc., 203
 7   Cal. App. 4th 1 1 12, 1 132 (2012).
 8                                    FIRST CAUSE OF ACTION
 9                   Failure to Provide Adequate Pay Stubs, Cal. Lab. Code § 226(a)
10    (On Behalf of Plaintiffs Individually, the Mays Class and the Roach Class Against All
11                                             Defendants)
12         37.       Plaintiffs re-plead, re-allege, and incorporate by reference each and every
13   paragraph set fOrth in this Complaint:
14         38.       Section 226 of the Labor Code states:
15       "Ails-employee suffering injury as a result of a knowing and. intentional failure
16         by an employer to comply with subdivision (a) is entitled to recover the
17         greater of all actual damages or fifty dollars ($50)for the initial pay period
18         i n which a violation occurs and one hundred dollars ($100) per employee for
19         each violation in a subsequent pay period, not exceeding an aggregate
20         penalty of four thousand dollars ($4,000), and is entitled to an award of costs
21         and reasonable attorney's fees:
22   Id. § 226(e).
23         39.       Wal-Mart failed to provide Mays,Roach and Class Members with pay stubs
24   conforming to the requirements of section 226(a) of thesLabor Code by failing to always
25   designate "inclusive dates of the period for which the employee is paid," failure to show -
26   all accumulated'vacation pay earned in.the.employee's final pay statement, failure to
27   accurately list the gross and net Wages paid, or the name and address of the'legal entity
28   that is the employer. As described in this Complaint, Defendants' defective wage

                                                    14
                                                COMPLAINT
     Case 2:21-cv-00015 Document 1-1 Filed 01/04/21 Page 16 of 18 Page ID #:30




 1   statements injured Plaintiffs-and Aggrieved Employees.
 2         40.    According to Mays's employment records, the employer is Wal-Mart Stores,
 3   Inc. but her wage statements, and those issued to other Aggrieved Employees, incorrectly
 4   lists Wal-Mart Associates, Inc. as the employer. For example, see the document showing
 5   Wal-Mart Stores, Inc. as the employer in Mays's application in 2007; the document
 6   showing Wal-Mart Stores, Inc. as the employer in 2016 in her promotion papers; and the
 7   document showing Wal-Mart Stores, Inc. as the employer at the time she was terminated
 8   in February 2017. Accordingly, Mays and the Mays Class Members are entitled to
 9   damages, to costs, and to reasonable attorney's fees in accordance with the provisions of
10   Labor. Code section 226(e). Plaintiff Mays was not employed by Wal-Mart Associates,
11   m e., an entity which merely was engaged in the business of"Payroll Processing," as         .
12   detailed by it on the Statement of Information filed by it with the Secretary of State of the
Ii   State of California on September 8,2017 and on August 30, 2016.
14         41.    According to Plaintiff Roach's employment records, his employer is Wal-
15   Mart Stores, Inc. and/or Walmart, Inc. but his wage statements, and those issued to other
16   Aggrieved Employees, incorrectly lists -Wal-Mart Associates, Inc. as the employer.
17   Actordinglji, Plaintiff Roach and the Roach Class Members are entitled to damages,          •
18   costs, and reasonable attorney's fees in accordance with the provisions of Labor Code
19   section 226(e). Plaintiff Roach was not employed by Wal-Mart Associates,
20   entity which merely was engaged in -the business of"Payroll Processing," as detailed by
21   it on the Statement ofInformation filed by it with the Secretary of State of the State of
22   California on September 6, 2018.
23                               SECOND CAUSE OF ACTION
24                         Civil Penalties, Cal: Lab. Code §§ 2698 et seq.
25       (On behalf of Plaintiffs, the State of California and on behalf of the Aggrieved
26                                - Employees Against Defendants)
27         42.    Plaintiffs re:plead, reallege, and incorporate by reference each and every
28   allegation set forth in the Complaint.

                                                  15
                                              COMPLAINT
     Case 2:21-cv-00015 Document 1-1 Filed 01/04/21 Page 17 of 18 Page ID #:31




 1            43.   Plaintiffs are "aggrieved employees" under PAGA,as they were employed by
 2   Defendant during the applicable statutory period and suffered one or more of the Labor
 3   Code Violations set forth herein. Accordingly, they seek to recover on behalf of
 4   themselves and all other current and former Aggrieved Employees of Defendant, the civil
 5   penalties for which provision is made by PAGA,as well as reasonable attorney's fees and
 6   costs.
 7            44.   Pursuant to section 2699.3(a)(1) of the Labor Code, on June 14, 2017,
 8   Plaintiff Mays gave written notice to the California Labor and Workforce Development
 9   Agency("LWDA")of the specific provisions of the Labor Code alleged to have been
10   violated by Defendants, including the theories set forth in this Complaint. Also on that
11   day, Plaintiff gave written notice by certified mail to Defendant Wal-Mart Stores, Inc. of
12   the specific provisions of the Labor Code alleged to have been violated by Defendant Wal-
13   Mart Stores, Inc. On or about November 28, 2018, Plaintiff'Roach gave written notice by
14   certified mail and online filing of Defendants' violations of various provisions of the .t
15   California Labor Code as alleged in this Complaint to the LWDA and Defendants.
16            45.   More than sixty-five days have passed from the date of Plaintiffs' notice to
17   the LWDA and Plaintiffs have not been notified by the LWDA that it intends to
18   i nvestigate 'Plaintiffs' allegations. Therefore, Plaintiffs, pursuant to section
19   2699.3(a)(2)(A),"may commence a civil action pursuant to Section 2699." Cal. Lab.
20   Code § 2699.3(a)(2)(A).
21            46.   Plaintiffs seek to recover the PAGA civil penalties through a representative
22   action permitted by PAGA and the California Supreme Court in Arias v. Superior Court,
23   46 Cal. 4th 969.(2009). Therefore, class certification of the PAGA claims is not required.
24            47.   Plaintiffs seeks civil penalties pursuant to PAGA for violations of the •
25   following Labor Code provisions:
26              Failure to provide itemized wage statements to Aggrieved Employees in
27              violation of Labor Code § 226(a), not even identifying the legal name and
28              address of the employer;

                                                    16
                                                COMPLAINT
     Case 2:21-cv-00015 Document 1-1 Filed 01/04/21 Page 18 of 18 Page ID #:32




           48.       Labor Code §§ 2699.et seq. imposes a civil penalty of one hundred dollars
 2 ($100) per pay period, per aggrieved employee for initial violations, and two hundred
 3   dollars ($200) per pay period, per aggrieved employee for subsequent violations for all
 4   Labor Code provisions for which a civil penalty is not specifically provided, including the
 5   applicable Wage Order.
 6   WHEREFORE,Plaintiff prays for judgment as follows:
 7          1.       That the Court certify the proposed Classes.
 8         2.        With respect to the First Cause of Action, that it be adjudged that the Court
 9   enter judgment in favor of Plaintiffs and Class Members in an amount to be established
10   by proof, in at least the amount of $250,000, as well as costs and attorney's fees, in
11   accordance with section 226(e) of the Labor Code.
12         3.        With respect to the Second Cause of Action, that this Court award Plaintiffs
13   and other Aggrieved Employees their civil penalties, attorneys' fees, and costs of suit, all
14   according to proof, in at least the amount of $250,000, pursuant to Labor Code Section
15   2698, et seq.
16         4.     For such other and further relief as this Court may deem fit and•proper.
17
18   DATED: September 30, 2020                              HARRIS & RUBLE
19
20
21
                                                            Alan Harris
22
                                                            A ttorney.for Plaintiffs
23
24
25
26
27
28

                                                    17
                                                COMPLAINT
